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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DONNETTA HOLMES                                     :           CIVIL ACTION
                                                    :
    v.                                              :           No. 21-722
                                                    :
MGM RESORTS INTERNATIONAL                           :

                                               ORDER

         AND NOW, this 17th day of May, 2022, upon consideration of Defendant Marina District

Development Company, LLC’s Motion to Dismiss for Improper Venue, and Plaintiff Donnetta

Holmes’s response in opposition, it is ORDERED the Motion (Document No. 17) is DENIED.1

         Marina District Development Company is DIRECTED to respond to the Amended

Complaint no later than 21 days after the entry of this Order.


                                                        BY THE COURT:


                                                         /s/ Juan R. Sánchez         .
                                                        Juan R. Sánchez, C.J.



1
  Donnetta Holmes brings this negligence action against the parent company of the Borgata Hotel
Casino & Spa, which is located in Atlantic City, New Jersey. Holmes alleges the Defendant was
negligent in failing to maintain the premises when she slipped on a slippery substance in the buffet
area of the hotel. Holmes filed the Complaint on February 17, 2021. ECF No. 1. After a period of
inaction and no response from Defendant MGM Resorts International, Holmes moved for default
judgment. ECF No. 6. Before a hearing on the motion could be held, it came to light that MGM
Resorts International was apparently not the appropriate owner of the Borgata Hotel Casino & Spa
for purposes of this lawsuit. On August 6, 2021, Holmes filed the Amended Complaint with leave
from the Court. ECF No. 12. MGM Resorts International was terminated from the case and Marina
District Development Company was added as the sole defendant. ECF No. 12. Marina District
Development Company now moves to dismiss or in the alternative, transfer this case to the District
of New Jersey, arguing venue is improper in this district.
        Venue for civil actions in federal court is governed by 28 U.S.C. § 1391. The statute
provides a civil action may be brought in:

         (1) a judicial district in which any defendant resides, if all defendants are residents
             of the State in which the district is located; [and]
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       (2) a judicial district in which a substantial part of the events or omissions giving
           rise to the claim occurred, or a substantial part of the property that is the subject
           of the action is situated . . .

28 U.S.C. § 1391(b). For purposes of venue, a business entity “with the capacity to sue and be
sued in its common name under applicable law, whether or not incorporated, shall be deemed to
reside, if a defendant, in any judicial district in which such defendant is subject to the court’s
personal jurisdiction with respect to the civil action in question.” Id. § 1391(c)(2). Section 1391
therefore contemplates the possibility that venue may be appropriate in multiple judicial districts.
The first possibility is the district in which any defendant resides, assuming all defendants reside
in the same state. If the singular defendant is a business entity, as is the case here, venue is proper
in any district where the entity is subject to the court’s personal jurisdiction.
        Lack of personal jurisdiction is also a waivable defense. The Federal Rules of Civil
Procedure provide that a party filing a Rule 12 motion is prohibited from raising a defense or
objection that was available to the party at the time the motion was filed but omitted from the
motion. Fed. R. Civ. P. 12(g)(2). Omitting a Rule 12(b) defense in the first Rule 12 motion
constitutes a waiver of that defense. Fed. R. Civ. P. 12(h)(1). The only exceptions to this rule are
the defenses of failure to state a claim upon which relief may be granted, failure to join a party
under Rule 19, and lack of subject matter jurisdiction. See id. Those defenses are not applicable
here. A defendant does, however, “consent to personal jurisdiction by waiving any objection to
it.” Danziger & De Llano, LLP v. Morgan Verkamp LLC, 948 F.3d 124, 129 (3d Cir. 2020) (citing
Ins. Corp. of Ir., Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 703 (1982)).
        The instant Motion is Marina District Development Company’s first Rule 12 motion. The
only defense raised in the Motion and accompanying brief is improper venue. The arguments for
improper venue do not discuss personal jurisdiction, either as a separate defense or as the basis for
venue being improper under § 1391(c)(2). Marina District Development Company merely argues
venue is improper because it is a resident of New Jersey. It is possible, however, that a business
entity defendant can be a resident of multiple states for purposes of a venue analysis—simply put,
being a resident of New Jersey does not mean Marina District Development Company is not also
a resident of Pennsylvania. Marina District Development Company’s waiver constitutes consent
to personal jurisdiction and therefore, this district is a proper venue for this action and dismissal
under Rule 12(b)(3) would be improper.
        Marina District Development Company asks in the alternative to transfer the case to the
District of New Jersey, which is also a proper venue. Transfer of a case where both the original
and requested venues are proper is governed by 28 U.S.C. § 1404(a). See Jumara v. State Farm
Ins. Co., 55 F.3d 873, 878 (3d Cir. 1995). Section 1404(a) instructs courts to consider “the
convenience of the parties and witnesses [and] the interest of justice.” In Jumara, the Third Circuit
acknowledged “there is no definitive formula or list of the factors to consider [and] courts have
considered many variants of the private and public interests protected by the language of §
1404(a).” 55 F.3d at 879. “Such an extensive enumeration of factors to be balanced makes a written
opinion setting forth the reasons for transfer . . . highly desirable, [although] not essential if the
record shows that the proper factors were considered.” Id. at 880 (citations omitted).
        After extensive review of the private and public factors mandated by § 1404(a) and
explained in Jumara, the Court finds transfer is not warranted. Holmes’s choice of venue in this
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district “should not be lightly disturbed,” and Marina District Development Company has not met
its burden for establishing the need for transfer. Id. The motion to transfer is therefore denied.
